       Case 1-22-41410-jmm           Doc 96     Filed 07/20/23      Entered 07/20/23 12:04:39




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AVRUM J. ROSEN
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DEBORAH L. DOBBIN
NICO G. PIZZO
ALEX E. TSIONIS+
(+ also admitted in New Jersey)




                                                                 July 20, 2023
VIA ECF
Hon. Jil Mazer-Marino
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800
                                  Re: FRALEG GROUP, INC., Case No.: 22-41410-jmm


Dear Judge Mazer-Marino,
        The Office of the United States Trustee raised some informal objections to this firm’s
final fee application. We have resolved them by agreeing to an $1,800.00 reduction in our fee
application for professional fees.


          Thank you.


                                                                 Very truly yours,
                                                                 S/ Avrum J. Rosen, Esq.


To All Paries in interest, via ECF
